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                    UNITED STATES DISTRICT COURT
                    EASTERN DISTRICT OF LOUISIANA
                        NEW ORLEANS DIVISION

IN RE: FEMA TRAILER                          MDL NO. 1873
FORMALDEHYDE
PRODUCT LIABILITY LITIGATION                 SECTION "N-4"
                                             JUDGE ENGELHARDT
                                             MAG. JUDGE ROBY




         DEFENDANT UNITED STATES OF AMERICA’S EXHIBITS
     IN SUPPORT OF ITS MOTION TO DISMISS PLAINTIFFS’ FTCA AND
    CONTRACT CLAIMS FOR LACK OF SUBJECT MATTER JURISDICTION




                          U.S. EXHIBIT NO. 10-A
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 1 Travel Trailers Off the Lot Purchased (LOCAL) - Sorted by Contract #




                                                                                                                                                                                     State
 2     Contract Number                                   Vendor                                            Units                      Deliver To:                     Amount        Acquired
  3 HSFEHQ-05-C-4048        Northern Wholesale Trailers and RV                                          746          Selma, AL / Purvis, MS / Baton Rouge, LA    $   16,262,800.00    MI        746   $    16,262,800.00
 4 HSFEHQ-05-C-4078         Southwest RVCenters                                                         723          LONESTAR                                    $   15,813,012.00    TX        723   $    15,813,012.00
  5 HSFEHQ-05-C.-4080       Tom Stinnett RV                                                             2033         Selma, AL                                   $   37,064,276.00    IN       2033   $    37,064,276.00
  6 HSFEHQ-05-C-4126        Tom Raper RV, Inc                                                           800          Selma, AL                                   $   14,623,400.00    FL        800   $    14,623,400.00
 7 HSFEHQ-05-P-3846         Great Lakes RV Center/Lite Hourse Prop.                                    42            Purvis, MS                                  $      757,877.50               42   $       757,877.50
  8 HSFEHQ-05-P-4007        DemontronAutomotiv Group                                                    5            Baton Rouge, LA                             $       114,650.81               6   $       114,850.81
  9 HSFEHQ-05-P-4008        Ron Hoover Companies, Inc.                                                 22            Baton Rouge, LA                             $       506,129.23              22   $       506,129.23
10 HSFEHQ-05-P-4011         RV Outlet Mall                                                             25            Baton Rouge, LA                             $      475,704.25    IN         25   $       475,704.25
11 HSFEHQ-05-P--4015        Great Lakes RV Center                                                      42            Baton Rouge, LA                             $      460,904°00    FL         42   $       460,904.00
12 HSFEHQ-05-P-4016         Al’s Motorhome & Trailer Sales                                              122          Purvis, MS                                  $    2,395,400.00    PA        122   $     2,395,400.00
13 HSFEHQ-05-P-4017         Ben’s RV Center                                                             11           Baton Rouge, LA ¯                           $      246,840.00    MO         11   $       246,840.00
14 HSFEHQ-05-P--4018        RVAmerica LLC                                                              34            Selma, AL                                   $       619,940.20   FL         34   $       619,940.20
15 HSFEHQ-05-P-4019         Arrowhead RV Sales,Inc.                                                    78            Selma, AL                                   $    t ,432,030.00   KY         78   $     1,432,030.00
16 HSFEHQ-05-P-4020         Candys Campers Inc.                                                         111          Selma, AL                                   $    2,076,258.00    IN        111   $     2,076,258.00
17 HSFEHQ-05-P-4021         Root’s RV, Inc.                                                            23            Baton Rouge, LA                             $      405,880.00    IA         23   $       405,880.00
18 HSFEHQ-05-P--4022        Modern Trailer Sales                                                       34            Purvis, MS                                  $      480,623.00     IL        34   $       480,623.00
19 HSFEHQ-05-P-4023         Larry’s Trailer Sates                                                      77            Selma, AL                                   $    1,459,652.75    OH         77   $.    1,459,652.75
20 HSFEHQ-05-P.-4024        Paul Sherry RV, Inc.                                                        71           Baton Rouge, LA                             $    1,450,502.78    MI         71   $     1,450,502.78
21 HSFEHQ-05-P-4025         Hilltop RV Superstore                                                      !18           Baton Rouge, LA                             $      299,004.00    MI         18   $       299,004.00
 22 HSFEHQ-05-P-4026        Travel Land RV Center                                                      !15           Baton Rouge, LA                             $      253,600.00    FL         15   $       253,600.00
 23 HSFEHQ-05-P--4027       Liberty Rv & Marine, Inc.                                                  !43           Baton Rouge, LA                             $       828,490.00   IL         43   $       828,490.00
24 HSFEHQ-05-P-4028         Art’s RV                                                                   47            Baf~on Rouge, LA                            $    1,030,995.00               47   $     1,030,995.00
 25 HSFEHQ-05-P.-4029       Country RV Center Inc.                                                     29            LONESTAR                                    $       590,962.00   MI         29   $       590,962.00
 26 HSFEHQ-05-P--4030        ~itsema Trailer Sales, DBA                                                7             Selma, AL                                   $       119,335.00   FL          7   $       119,335.00
 2"7 HSFEHQ-05-P-4031       Conibear RV Center                                                         141           Selma, AL                                   $       815,900.00   FL         41   $       815,900.00
28 HSFEHQ-05-P-4032         Conley RV Center                                                           i17           Selma, AL                                   $       339,915.00   FL         17   $       339,915.00
29 HSFEHQ-05-P-4033         Great Escape RV Center                                                     33            Selma, AL                                   $       659,967.00   FL         33   $       659,967.00
 30 HSFEHQ-05-P--4034       Dusty’s Camper World                                                       93            Selma, AL                                   $    1",783,246.00   PA         93   $     1,783,246.00
31 HSFEHQ-05-P--4035        Susquehanna Valley RV                                                      13            Selma, AL                                   $      240,156.70    FL         13   $       240,156.70
 32 HSFEHQ-05-P--4036       Dick Gora’s RV World                                                       100           Selma, AL                                   $    1,965,179.00    MS        t00   $     1,965,179.00
33 HSFEHQ-05-P-4037         Aberdeen RV Center                                                         21            Selma, AL                                   $      392,642.00    TX         21   $       392,642.00
34 HSFEHQ-05-P--4038        Morgan USA                                                                 20            Selma, AL                                   $   404,394.00       FL         2O   $       404,394.00



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 1 Travel Trailers Off the Lot Purchased (LOCAL) - Sorted by Contract #                                    I


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 2  Contract Number                                       Vendor                                   Units                      Deliver To:                Amount        Acquired
35 HSFEHQ-05-P-4042        Travel Country RV Center                                             97          Selma, AL                                 $ 1,927,363.99      FL      97¸        $   1,927,363.99
36 HSFEHQ-05-P--4043       Easydays, lnc                                                        69          Selma, AL                                 $ 1,335,858o00      FL      69¸        $   1,335,858.00
37 HSFEHQ-05-P-4044        RV Kountry Inc                                                       22          Selma, AL                                 $     409,200.00    FL      22         $    409,200.00
38 HSFEHQ-05-P-4045        Honkers RV                                                           10          Selma, AL                                 $     190,875.00    FL      10         $   190,875.00
39 HSFEHQ-05-P-4046        3-D Disaster Services                                                144         Selma, AL                                 $ 2,768,880o00     co       144        $     2,768,880.00
4O HSFEHQ-05-P-4047        Century RV                                                           14          Baton Rouge, LA                           $     283,900.00   NJ        14        $       283,900.00
41 HSFEHQ-05-P-4049        Cedar Ridge Railer Sales, Inc.                                       23          Purvis, MS                                $     501,971.00   co        23        $   501,~71.00
42 HSFEHQ-05-P-4050        Dale Broome~s RV Center                                              3           LONESTAR                                  $      66,500.00    FL        3        $        66,500.00
43 HSFEHQ-05-P-4051        Longstreet RV’s                                                      10          Selma, AL                                 $     180,000.00   MS        10        $       180,000.00
    HSFEHQ-05-P--4052      American RV Centers Inc.                                             25          Pun/is, MS                                $  473,167.75      IN       25         $    473,167.75
45 HSFEHQ-05-P-4053        Best Bu¥’s RV’s Inc.                                                 4O          Baton Rouge, LA                           $  709,197.00      IN       4O         $    709,197.00
46 HSFEHQ-05-P-4054        Lee’s RV Center Inc.                                                 23          Baton Rouge, LA                           $  441,018.00               23         $       441,018.00
47 HSFEHQ-05-P-.4055       Colonia del Ray RV Sales, LLC                                        15          Baton Rouge, LA                           $     314,255.00   MI       15         $    314,255.00
48 HSFEHQ-05--P-4056       Ter[y Town Travel Center Inc.                                        186         Baton Rouge, LA                           $ 3,589,707.00     NH       186        $   3,589,707.00
49 HSFEHQ-05-P.-4057       Gilman Outdoor Equipment Inc.                                        53          Pun/is, MS                                $ 1,139,695.00     ND       53         $     1,139,695.00
5O HSFEHQ-05-P--4058       McLaughlin Enterprises                                               54          LONESTAR                                  $   1,100,701.00   AR       54         $     1,100,701.00
51 HSFEHQ-05-P-4059        Bolek Inc. dba Wheels RV                                             24          Pun/is, MS                                $     390,114.28   MA       24         $       390,114.28
52 HSFEHQ-05-P-4060        Diamond RV Center                                "°                 -9           Selma, AL                                 $     184,977.00   AR        9         $       184,977.00
53 HSFEHQ-05-P-4061        RCRV, LLC dba River City RV                                          47          Baton Rouge, LA                           $     922,349.00   IN       47         $       922,349.00
54 HSFEHQ-05-P--4062       Tiara RV Sales                                                       8O          Baton Rouge, LA                           $ 1,528,000.00     MO       8O         $   1,528,000.00
55 HSFEHQ-05-P-4063        Howard RV Supercenter                                                31          LONESTAR                                  $     550,244.01    FL      31         $       550,244.01
56 HSFEHQ-05-P-4064        The Turning Wheel RV                                                 79          Selma, AL                                 $ 1,569,760.00     AL       79         $   1,569,760.00
57 HSFEHQ-05-P-4065        Schafefs RV                                                          9           Selma, AL                                 $ 166,200.00        FL        9        $       166,200.00
58 HSFEHQ-05-P--4066       Florida RV World, Inc                                                27          Baton Rouge, LA                           $     516,400.00   FL        27        $       516,400.00
59 HSFEHQ-05-P-4067        The Turning Wheel RV                                                 162         Selma, AL                                 $ 3,654,090.00     NC       162        $   3,654,090.00
6O HSFEHQ-05-P.-4068       Mountain Top RV Marine                                               6           Selma, AL                                 $     111,697o00   AL         6        $       111,697.00
61 HSFEHQ-05-P-4069        K and K Camping                                                      42          Purvis, MS                                $     815,986.00            42         $       815,986.00
62 HSFEHQ-05-P-4070        Dixon RV’s                                                           11          LONESTAR                                  $  202,031.00      FL       11         $       202,031.00
63 HSFEHQ-05-P-4071        Long View RV Superstores                                             39          Pun/is, MS                                $  780,000.00      NC       39         $     780,000.00
64 HSFEHQ-05-P--4072       Crisp RV Center                                                      10          Baton Rouge, LA                           $ 194,869.00        KY      10         $       194,869.00
65 HSFEHQ-05-P-4073        Dobson Camper Sales                                                  5           Purvis, MS                                $      85,833°00   FL         5        $        85,833.00
66 HSFEHQ-05-P--4074       The Turning Wheel RV                                                 109         Purvis, MS                                $ 2,174,910°00     FL       109        $   2,174,910.00



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1   Travel Trailers Off the Lot Purchased (LOCAL) - Sorted by Contract




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 2 Contract Number                                             Vendor                                         Units                        Deliver To:                   Amount       Acquired
67 HSFEHQ-05-P--4075        Holiday RVS                                                                   5            KATRINA                                       $      96,600.00   MS         5   $      96,600.00
68 HSFEHQ-05-P-4076         UPTON’s RV                                                                    4            Purvis, MS                                    $      69,245.00    AR        4   $      69,245.00
69 HSFEHQ-05-P-4077         Glenwood Camper Sales Inc.                                                    8            Baton Rouge, LA                               $     161,239.00    WI        8   $     161,239.00
70 HSFEHQ-05-P-4079         Bubnich Motors & RV, LLC                                                      20           Baton Rouge, LA                               $     344,336.00    MS       2O   $     344,336.00
71 HSFEHQ-05-P-4081         Sherman RV Center                                                             21           Purvis, MS                                    $     391,100.00    TX       21   $     391,100.00
72 HSFEHQ-05-P.-4082        Lake Fork RV & Auto                                                           10           LONESTAR                                      $     231,101.00   MO        10   $     231,101.00
"73 HSFEHQ-05-P-4083         ~cDowell South Inc                                                           18           LONESTAR                                      $     344,127.00    PA       18   $     344,127.00
74 HSFEHQ-05-P-4084         Tom Schaeffer’s Camping & Travel Ctr.                                         34           Purvis, MS                                    $     750,440.20   FL        34   $     750,440.20
75 HSFEHQ-05-P-4085         Flagship RV                                                                   21           Baton Rouge, LA                               $     400,094,00    MS       21   $     400,094.00
76 HSFEHQ-05-P-4086          ~berdeen RV Center                                                           19           Baton Rouge, LA                               $     357,638.00    TX       19   $     357,638.00
77 HSFEHQ-05-P-4087          ~.11 Star RV                                                                 20           Purvis, MS / Selma, AL                        $     360,124.00    KY       20   $     360,124.00
78 HSFEHQ-05-P-4088         American Dream Housing, Inc                                                   19           Purvis, M,S                                   $     416,135,00    CO       19   $     416,135.00
79 HSFEHQ-05-P-4090         Mountain States RV                                                            21           Baton Rouge, LA                               $     422,485.00    WI       21   $     422,485.00
80 HSFEHQ-05-P-4091         Craft’s Trading Center, Inc.                                                  7            Baton Rouge, LA                               $     152,190.00   FL         7   $     152,190.00
81 HSFEHQ-05-P-4092         Dusty’s Camper World LLC.                                                     64           Purvis, MS                                    $   1,342,834.00    NC       64   $   1,342,834.00
82 HSFEHQ-05-P-4093          Charlotte Bus & RV Sales, Inc.                                               14           Selma, AL ! Purvis, MS                        $     282,798.00             14   $     282,798.00
83 HSFEHQ-05-P-4094          Lone Star Rv Sales Inc.                                                      20           Baton Rouge, LA                               $     415,942.00    KY       20   $     415,942.00
84 HSFEHQ-05-P-4095         Candys Campers Inc.                                                           165          Purvis, MS                                    $   3,343,239.00            165   $   3,343,239.00
85 HSFEHQ-05-P-4096         Topper Sales Inc. DBA Toppr’s Camping Center                                  12           LONESTAR                                      $     243,300.00    CO       12   $     243,300.00
8B HSFEHQ-05-P-4097         RV Amedca                                                                     44           LONESTAR                                      $   1,016,628.00   FL        44   $   1,016,628.00
87 HSFEHQ-05-P-4098         DBA Bates RV/Bates Show Sales Staff                                           98           Purvis, MS                                    $   2,145,160.00    Wl       98   $   2,145,160.00
88 HSFEHQ-05-P-4099         Jos. Shiek Inc. dba Schieks Camping Center                                    19           Baton Rouge, LA                                     333,563.00    IA       19   $     333,563.00
89 HSFEHQ-05-P-4100         Leach Camper Sales                                                            36           Baton Rouge, LA                               $     688,141.00    WI       36   $     688,141.00
90 HSFEHQ-05-P.-4101         Paul’s Trailer & RV Center Inc.                                              22           Baton Rouge, LA                               $     463,115.60    MN       22   $     463,115.60
91 HSFEHQ-05-P-4102         Lake Country RV, lnc                                                          3            Baton Rouge, LA.                              $      58,016.00    MI        3   $      58,016.00
92 HSFEHQ-05-P--4103        Margaret Dennis, Inc.                                                         12           Purvis, MS                                    $     239,396.00             12   $     239,396.00
93 HSFEHQ-05-P-4104         DAR, Inc dba Fun Time RV Sales                                                296          Purvis, MS / Baton Rouge,                     $   6,212,551.60            296   $   6,212,551.60
94 HSFEHQ-05-P--4105         ~ncira RV                                                                    31           Baton Rouge, LA                               $     646,184.00    MI       31   $     646,184.00
95 HSFEHQ-05-P-4106          Bedford RV’s Inc                                                             15           Baton Rouge, LA                               $     291,000.00    IL       15   $     291,000.00
96 HSFEHQ-05-P-4107          "[aylorville RV & Marine                                                     27           Purvis, MS                                    $     556,247.63    NY       27   $     556,247.63
97 HSFEHQ-05-P-4108          Wilkins Recreational Vehicles tnc                                            53           Baton Rouge, LA                               $   1,089,242.00             53   $   1,089,242.00
98 HSFEHQ-05-P-4109          United Homes, Inc. dba United Home and RV                                    16           Purvis, MS                                    $     332,613.25    NY       16   $     332,613.25
99 HSFEHQ-05-P-4110          Momot Trailer Sales, Inc.                                                    25           Baton Rouge, LA                               $     544,240.00             25   $     544,240.00



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   Travel Trailers Off the Lot Purchased (LOCAL) - Sorted by Contract




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 2 Contract Number                                           Vendor                                      Units                    Deliver To:                   Amount         Acquired
100 HSFEHQ-05-P-4111       Lone Star Rv Sales lnc                                                     18           Baton Rouge, LA                                383,657.00      TX      18            $     383,657.00
101 HSFEHQ-05-P-4112       DBA Cre~tview RV Center                                                    52           Baton Rouge, LA                              1,075,000.00      TX      52            $   1,075,000.00
102 HSFEHQ-05-P-4113       Explore USA RV, Ltd. dba Explore USA RV Supercenter                        120          LONESTAR                                     2,566,292.00      PA      120           $   2,566,292.00
103 HSFEHQ-05-P-4114       Stollzfus RVS Inc.                                                         5            KATRINA                                        103,500.00    ~ PA         5          $     103,500.00
104 HSFEHQ-05-P..4115      Balzannas RV                                                               5            Purvis, MS                                       90,699.00     NC         5          $      90,699.00
105 HSFEHQ-05-P-4116       Bumgarner Camping Center                                                   11           Purvis, MS                                     217,300.00      TX       11           $     217,300.00
106 HSFEHQ-05-P-4117       Bert Ogden Rio Grande Valley RV Center Inc.                                8            LONESTAR                                       166,436.10 i    iN         8          $     166,436.10
107 HSFEHQ-05-P-4118 ¯     The RV Experience                                                          8            Purvis, MS                                     160,091.00      NH         8          $     t60,091.00
108 HSFEHQ-05-P-4119       Campers Inn of Kingston                                                    61           Baton Rouge, LA                              1,220,000.00      TX      61            $   1,220,000.00
109 HSFEHQ-05-P--4120      CCRV, LLC                                                                  10           Baton Rouge, LA                                193,400.00      NC       10           $     193,400.00
11 (3 HSFEHQ-05-P-4121     Dynasty Homes                                                              8            Baton Rouge, LA                                 157,690.00     NC         8          $     157,690.00
111 HSFEHQ-05-P-4122       Sandhill’s RV Superstore, Inc.                                             17           KATRINA                                        373,949.00      Wt       17           $     373,949.00
112 HSFEHQ-05-P.-4123      De Haan Auto & RV Center, Inc                                              20           Purvis, MS                                     367,140.00       LA     20            $     367,140.00
113 HSFEHQ-05-P-4124       Bourget’s of the South, LLC                                                32           Baton Rouge, LA                                793,165.00      IN       32           $     793,165.00
114 HSFEHQ-05-P-4127       Bourget’s of the South, LLC                                                174          Selma, AL/Baton Rouge, LA                    4,059,489.70       LA     174           $   4,059,489.70
115 HSFEHQ-05-P-4208       Tradewinds RV Inc.                                                         24           Purvis, MS                                     488,927.00       FL     24            $     488,927.00
116 HSFEHQ-05-P-4248       EZ Living Inc.                                                             27           Purvis, MS                                     548,961.00       IL     27            $     548,961.00
117 HSFEHQ-05-P-4249       Colerain Trailer Cntr., Inc                                                60           Baton Rouge, LA                              1,180,100.00      OH       60           $   t,180,100.00
118 I HSFERQ-05-P-4250     ACTB, Inc. DBA DJ’s Auto & RV’s                                            22           Baton Rouge, LA                                481,220.00      MD      22            $     481,220~00
119 HSFEHQ-05-P-4251       Whichita Falls R.V. Center, Inc                                            12           LONESTAR                                       253,206.00      TX       12           $     253,208.00
12(3 HSFEHQ-05-P-4252      Gooding RV Center                                                          5            Baton Rouge, LA                                  90,931.00     TX         5          $      90,931.00
121 HSFEHQ-05-P-4253       Cheyenne Camping Center Co. I~c                                            36           Baton Rouge, LA                                654,667.00       IA      36           $     654,667.00
122 HSFEHQ-05-P-4254       Colonial Sales Leasing Rental                                               149         Purvis, MS                                   2,961,195.00       AL     149           $   2,961,195.00
123 HSFEHQ-05-P-4255       Suncoast RV                                                                 166         F~urvis, MS                                  3,579,381.00      FL      166           $   3,579,381.00
124 HSFEHQ-05-P.-4256      Auto Ready, Inc                                                            7            KATRINA                                         141,885.00     CA         7          $     141,885.00
125 HSFEHQ-05-P-4257       Tarrytown Travel Center                                                    77           Purvis, MS                                    1,609,800.00     MI       77           $   1,609,800.00
128 HSFEHQ-05-P-4258       Walnut Ridge Family Trailer Sales                                          59           Baton Rouge, LA                               1,066,552.00      IN      59           $   1,066,552.00
127 HSFEHQ-05-P--4259      Lichtsinn Motors, Inc.                                                     5            Baton Rouge, LA                                  74,200.00      IA        51         $      74,200.00
1213 HSFEHQ-05-P-4260      Owen Motor Sports, Inc.                                                    9            Baton Rouge, LA                                 174,776.00      IL        91         $     174,776.00
12~c HSFEHQ-05-P-4261      Andy’s RV Service                                                          5            KATRINA                                          67,740.00      AL        5          $      67,740.00
13C HSFEHQ-05-P-4262       The Family RV Center                                                       18           Purvis, MS                                      331,474.48      NC       18          $     331,474.48
1311HSFEHQ-05-P-4263       Dusty’s Camper World LLC.                                                  286          Purvis, MS                                    5,920,929.00      IN     286           $   5,920,929.00
1321HSFEHQ-05-P-4264       Mark’s Cars Sales & Rentals                                                2            Purvis, MS                                       29,490.00      GA        2          $       29,490.00


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   Travel Trailers Off the Lot Purchased (LOCAL) - Sorted by Contract #




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 2 Contract Number                                            Vendor                                        Units                        Deiiver To:                  Amount         Acquired
133 HSFEHQ-05-P.-4266       South Texas RV Super Store                                                   136         Baton Rouge, LA                              $     646,722.55     TX        36   $     646,722.55
134 HSFEHQ-05-P--4267       Cahaba RV Inc.                                                               114         Purvis, MS                                   $     276,371.00     AL        14   $     276,371.00
135 HSFEHQ-05-P.-4268       Route 66 RVs, lnc                                                            50          LONESTAR                                     $     975,005.00     OK        5O   $     975,005.00
136 HSFEHQ-05-P-4269        Leach Camper Sales                                                                       Baton Rouge, LA                              $     730,857.00     IA        39   $     730,857.00
137 HSFEHQ-05-P-4270        Cliff Jones Autoworld/RV                                                     53~         Baton Rouge, LA                              $   1,104,262.00     TX        54   $   1,104,262.00
138 HSFEHQ-05-P-4271        Campers’ Barn RV Superstore                                                  1621        Selma, AL                                    $   8,660,583.00     NY       621   $   8,660,583.00
139 HSFEHQ-05-P--4272       Big Country RV Center                                                        41          LONESTAR                                     $     851,095.00     OR        41   $     851,095.00
140 HSFEHQ-05-P-4273        Shorewood RV Center                                                          58          Baton Rouge, LA                              $   1,127,929.00     MN        58   $   1,127,929.00
141 HSFEHQ-05-P-4274        Force Manufacturing                                                          12          Purvis, MS                                   $     231,703.00     MN        12   $     231,703.00
142 HSFEHQ-05-P-4275        Walker RV Center                                                             17          Baton Rouge, LA                              $     362,817.54     OK        17   $     362,817.54
143 HSFEHQ-05-P-4276        Lichtsinn Motors, Inc.                                                       11          Baton Rouge, LA                              $     162,300.00     IA        11   $     162,300.00
144 HSFEHQ-05-P-4277        May’s RV, Inc.                                                               10          LONESTAR                                     $     225,900.00     TX        10   $     225,900.00
145 HSFEHQ-05-P-4278        Great Lakes RV Center                                                        92          Baton Rouge, LA                              $   1,536,453.00     IN        92   $   1,536,453.00
146 HSFEHQ-05-P-4279        Annie Rae Chevrolet dba Anne Rae: RV                                         O           Baton Rouge, LA                              $                    MI         0   $
147 HSFEHQ-05-P-4280        Tradewinds RV Inc.                                                           24          KATRINA                                      $     488,927.00     FL        24   $     488,927.00
148 HSFEHQ-05-P-4281        US Adventure RV                                                              22          Baton Rouge, LA                              $     440,070.00     IA        22   $     440,070.00
149 HSFEHQ-05-P--4282       Lowery Trailer Sales, Inc.                                                   57          Purvis, MS                                   $   1,090,292.00     MI        57   $   1,090,292.00
150 HSFEHQ-05-P-4283        Northtown Motor Homes                                                        10          Baton Rouge, LA                              $     195,899.00     MI        10   $     195,899.00
151 HSFEHQ-05-P-4284        Campers R.V. Center                                                          30          Baton Rouge, LA                              $     653,855.00      LA       30   $     653,855.00
152 HSFEHQ-05-P,-4285       Bradford RV Centers          "                                               ~           Selma, AL                                    $     124,698.00     MA         6   $     124,698.00
153 HSFEHQ-05-P-4286        Tilley’s                                                                     21          Baton Rouge, LA                              $     461,685.00      LA       21   $     461,685.00
154 HSFEHQ-05-P--4287       Parkview RV Center                                                           4           KATRINA                                      $      77,226.00     DE         4   $      77,226.00
155 HSFEHQ-05-P-4288        Menneapolis Trailer Sales Inc                                                18          Baton Rouge, LA                              $     337,267.00     MN        18   $     337,267.00
156 HSFEHQ-05-P-4289        Wise Enterprises of SW Fla Inc. dba Amedcan Van & Camper ¯                   5           Pun/is, MS                                   $     100,000.00     FL         5   $     100,000.00
157 HSFEHQ-05-P-4290        International RV Wodd, Inc.                                                  ~           Purvis, MS                                   $     132,000.00     MI         6   $     132,000.00
158 HSFEHQ-05-P-4291        Conley RV Center                                                             11          Selma, AL                                    $     244,613.60!    FL        11   $     244,613.60
159 HSFEHQ-05-P-4292        Madison RV Center Inc.                                                       15          Selma, AL                                    $     316,577.00 i   AL        15   $     316,577.00
160 HSFEHQ-05-P-4293        CJ’s RV Town, Inc                                                             132        Purvis, MS                                   $   2,307,220.00      FL      132   $   2,307,220.00
161 HSFEHQ-05-P-4294        Porter’s RV DBA: Darric Inc                                                  ;’          Purvis, MS                                   $     157,487.00     OR         7   $     157,487.00
162 HSFEHQ-05-P-4295        Bates Show Sales Staff Inc. Dba Bates RV                                     27          KATRINA                                      $     617,700.00     FL        27   $     617,700.00
163 HSFEHQ-05-P-4296        Mound View RV Inc.                                                           23          Baton Rouge, LA                              $     474,804.00      WI       23   $     474,804.00
164 HSFEHQ-05-P.,4297       Tom Johnson Camping Center Inc                                               24          Purvis, MS                                   $     519,642.00     NC        24   $     519,642.00
165 HSFEHQ-05-P.-4298       Wane Engine Center, Inc                                                      8           Purvis, MS                                   $     140,819.00      IN        8   $     140,819.00


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   2 Contract Number                                           Vendor                                        Units                        Deliver To:                   Amount        Acquired
 166 HSFEHQ-05-P--4299        Dixon RV’s                                                                  4            LONESTAR                                     $       85,402.00   -iX        4   $      85,402.00
 167 HSFEHQ-05-P.-4300        May’s RV, Inc                                                               3            LONESTAR                                     $       59,850.00   "TX        3   $      59,850.00
 168 HSFEHQ-05-P-4301         Climer Enterprises LLC DBA                                                  12           Purvis, MS                                   $     202,556.09    MS        12   $     202,556.09
 169 HSFEHQ-05-P-4303         RV Rentals lnc. dba Rex Yancy’s RV SuperStore Inc.                          13           KATRINA                                      $     218,662.00    AR        13   $     218,662.00
 170 HSFEHQ-05-P.-4304.       Camperiand RV                                                               18           Baton Rouge, LA                              $     356,050.00    WI        18   $     356,050.00
 1"71 HSFEHQ-05-P-4305        Hansel Motors Inc. @ DBA Hansel Toyota/RV                                   3            Baton Rouge, LA                              $       69,286.58   CA         3   $      69,286.58
 1 "72 HSFEHQ-05-P-4306       Camper Clinic II                                                            t8           KATRINA                                      $     301,948.00    TX        18   $     301,948.0O
 1 "73 HSFEHQ-05-P-4307       Coma Auto Sales and Service                                                 4            Purvis, MS                                   $       86,800.00   FL         4   $      86,800.00
 174 HSFEHQ-05-P-4308         Specialty Auto                                                              10           Purvis, MS                                   $      185,252.00   OH        10   $     185,252.00
 17"5 HSFEHQ-05-P-4309        Zabol Incorporated                                                           4O          Purvis, MS                                   $     820,750.00    FL        40   $     820,750.00
 176 HSFEHQ-05-P-4310         Mark’s RV Sales                                                              228         Purvis, MS                                   $   4,959,000.00    IN       228   $   4,959,000.00
 177 HSFEHQ-05-P-4311         Van Hay/Long, LLC DBA Colman’s Country Campers                               279         Purvis, MS                                   $   5,106,573.00     IL      279   $   5,106,573.00 ’
 178 HSFEHQ-05-P-4312         Paul Evert’s RV                                                             53           Baton Rouge, LA                              $   1,277,817.59    CA        53   $   1,277,817.59
! 179 HSFEHQ-05-P-4313        Lazydays                                                                     123         Purvis, MS                                   $   2,643,391.00    FL       123   $   2,643,391.00
1180 HSFEHQ-05-P-4314         Chesaco Motors Inc.                                                         65           Purvis, MS                                   $   1,367,537.00    MD        65   $   1,367,537.00
 181 HSFEHQ-05-P-4315         Ocean Grove RV Sales, Inc.                                                  30           Baton Rouge, L~                              $     597,000.00    FL        30   $     597,000.00
 182 HSFEHQ-05-P-4316         Great Lakes RV CentedLite Hourse Prop.                                       152         Baton Rouge, LA                              $   2,569,351.00    IN       152   $   2,569,351.00
 183 HSFEHQ-05-P-4318         Annie Rae Chevrolet dba Anne Rae: RV                                        94           Baton Rouge, LA                              $   1,936,393.33    MI        94   $   1,936,393.33
 184 HSFEHQ-05-P-4319         Bourget’s of the South, LLC                                                  105         Baton Rouge, LA                              $   2,402,346.00     LA      105   $   2,402,346.00
 185 HSFEHQ-05-P-4320         Great American RVs                                                          23           Purvis, MS                                   $     444,600.00     FL       23   $     444,600.00
 186 HSFEHQ-05-P-4321         Lazydays                                                                  ¯ 200          Purvis, MS                                   $   3,938,800.00    FL       2OO   $   3,938,800.00
! 187 HSFEHQ-05-P-4322        Terry’s RV Sales & Service                                                  49           Purvis, MS                                   $     836,189.00    IN        49   $     836,189.00
! 188 HSFEHQ-05-P-4323        Kitsmiller RV Inc.                                                          36           Baton Rouge, LA                              $     640,747.00    MI        36   $     640,747.00
 189 HSFEHQ-05-P-4324         Pats Coleman Camper Sales                                                   32           Purvis, MS                                   $     562,866.58    OH        32   $     562,866.58
 190 HSFEHQ-05-P-4325         McClains RV                                                                  48          LONESTAR                                     $      954,230.00   TX        48   $     954,230.00
 191 HSFEHQ-05-P-4326         Baldyga’s Auto Sales                                                         28          Purvis, MS                                   $      521,042.20   MA        28   $     521,042.20
 192 HSFEHQ-05-P-4327         Edgewood Homes, Inc.                                                        36           Baton Rouge, LA                              $      609,868.00   TN        36   $     609,868.00
 193 HSFEHQ-05-P-4328         Arrowhead RV Sales,lnc                                                      53           Purvis, MS                                   $    1,153,997.00   FL        53   $   1,153,997.00
 194 HSFEHQ-05-P--4330        Merit Engineering lnc                                                        117         KATRINA                                      $   2,684,225.00    MD       !17   $   2,684,225.00
 195 HSFEHQ-05-P--4372        DBA Patterson RV Center Patterson Auto Center, Inc                          6            Baton Rouge, LA                              $      123,794.65   TX         6   $     123,794.65
 196 HSFEHQ-05-P-4373         Bill Plemmons Inc.                                                           45          Baton Rouge, LA                              $      852,232.39   NC        45   $     852,232.39
 197 HSFEHQ-05-P-4374         "rrailside Campers, RV Sales, Inc                                           42           Purvis, MS                                   $      862,828.00   MO        42   $     862,828.00



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  2 Contract Number                                           Vendor                                      Units                        Deliver To:                    Amount       Acquired
 198 HSFEHQ-05-P-4375       Recreation Plantation lnc                                                   10          Baton Rouge, LA                               $     184,700.00   IL       10    $     184,700.00
 199 HSFEHQ-05-P-4376       Virginia RV Sales                                                           13          Purvis, MS                                    $     281,365.20   VA        13   $     281,365.20
200 HSFEHQ-05-P-4377        Quality RV Inc                                                              13          Purvis, MS                                    $     289,535.40   MO       13    $     289,535.40
201 HSFEHQ-05-P-4378        Greenway RV Sales & Service                                                 37          Baton Rouge, LA                               $     654,538.00   WI       37    $     654,538.00
202 HSFEHQ-05-P-4379        Smith Trailer Sales                                                         128         Purvis, MS                                    $   2,490,551.00   IN       128   $   2,490,551.00
203 HSFEHQ-05-P-4380        Liberty RV Inc                                                              20          Purvis, MS                                    $     405,009.00   MO       29    $     405,009.00
i204 HSFEHQ-05-P-4381       Wilkins Recreational Vehicles Inc                                           28          Purvis, MS                                    $     604,426.00   NY        28   $     604,426.00
 205 HSFEHQ-05-P--4382      Hudco Inc. DBA OK Trailer Sales                                             46          LONESTAR                                      $     962,100.00   ID        46   $     962,100.00
 206 HSFEHQ-05-P-4383       Tip’s RV                                                                    22          Baton Rouge, L&                               $     490,580.00   UT        22   $     490,580.00
 207 HSFEHQ-05-P-4384       Ron Hoover Companies, Inc                                                   23          Baton Rouge, LA.                              $     488,736.00   TX       23    $     488,736.00
 208 HSFEHQ-05-P-4387       The Car Show, Inc.                                                          9           Baton Rouge, LA                               $     192,165.00   CO         9   $     192,165.00
 209 HSFEHQ-05-P-4388       Bankston Motor Homes, Inc                                                   17          Purvis, MS                                    $     348,468.00   AL        17   $     348,468.00
 210 HSFEHQ-05-P-4389       Camperland RV                                                               9           KATRINA                                       $     173,044.00   Wl         9   $     173,044.00
 211 HSFEHQ-05-P..4403      Dick Gore’s RV World                                                        55          Purvis, MS                                    $   1,095,522.00   FL       55    $   1,095,522.00
1212 HSFEHQ-05-P--4404      Dream RV Sales Inc                                                          87          Purvis, MS                                    $   1,580,272.00   FL       87    $   1,580,272.00
1213 HSFEHQ-05-P-4405       Riley’s Auto & RV World, Inc                                                12          Purvis, MS                                    $     210,793.19   KY        12   $     210,793.19
 214 HSFEHQ-05-P-4406       Great Escape RV Center                                                      42          Purvis, MS                                    $     827,772.70   FL       42    $     827,772.70
 215 HSFEHQ-05-P-4407       The Turning Wheel RV                                                        73          Purvis, MS                                    $   1,388,177.08   FL       73    $   1,388,177.08
 216 HSFEHQ-05-P-4408       Dick Gore’s RV World                                                        149         Baton Rouge, LA                               $   2,930,740.00   FL       149   $   2,930,740.00
 217 HSFEHQ-05-P-4409       Recreation World, Inc                                                       22          Purvis, MS                                    $     440,000.00   FL       22    $     440,000.00
 218 HSFEHQ-05-P-4410       Bill Gardiner RV Supsrcenter                                                15          Purvis, MS                                    $     282,699.49   IN        15   $     282,699.49
 219 HSFEHQ-05-P-4411       Boyette Camper Sales                                                        14          Purvis, MS                                    $     287,573.00   GA        14   $     287,573.00
 220 HSFEHQ-05-P-4412       Travel Country RV Center                                                    22          Purvis, MS                                    $     447,740.00   FL        22   $     447,740.00
 221 HSFEHQ-05-P-4418       Jerrys Campers                                                              16          LONESTAR                                      $     289,008.40   TX        16   $     289,008.40
 222 HSFEHQ-05-P-4419       WL Baker, Inc                                                               7           Purvis, MS                                    $     141,875.00   OH         7   $     141,875.00
 223 HSFEHQ-05-P-4420       Evergreen Tracker Sales Inc.                                                2           Purvis, MS                                    $      34,607.00   PA         2   $      34,607.00
 224 HSFEHQ-05-P-4421       Country RV’s]                                                               4           Purvis, MS                                    $      79,804.05   PA         4   $      79,804.05
 225 HSFEHQ-05-P-4422       Dave’s Ctaremore RV                                                         37          Baton Rouge, LA                               $     716,688.00   OK       37    $     716,688.00
 226 HSFEHQ-05-P-4424       North Texas RV                                                              21          LONESTAR                                      $     447,757.OO   "IX      21    $     447,757.00
 227 HSFEHQ-05-P-4425       Ace Holding RV, Inc.unction, VT 05452                                       3           Purvis, MS                                    $      60,216.00   VT         3   $      60,216.00
 228 HSFEHQ-05-P-4426       Hy-Pride lnc                                                                7           Baton Rouge, LJk                              $     150,983.00   IL         7   $     150,983.00
 229 HSFEHQ-05-P-4427       Southern RV Center, Inc                                                     19          Purvis, MS                                    $     350,883.00   MS        19   $     350,883.00
 230 HSFEHQ-05-P-4428       Loveland RV Service, Inc                                                    7           Purvis, MS                                    $     157,942.00   CO         7   $     157,942.00



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 2 Contract Number                                            Vendor                                       Units                       Deliver To:                   Amount        Acquired
231 HSFEHQ-05-P-4429        Evergreen Rv Center, Inc                                                   126          LON ESTAR                                    $     505,412.00    TX        26   $     505,412.00
232 HSFEHQ-05-P-4430        Bowling Motors & RV Sales                                                  1108         LONESTAR                                     $   2,113,7.13.52   IA       108   $   2,113,713.52
233 HSFEHQ-05-P-4431        Leisure Life RV                                                            115          Baton Rouge, LA                              $     311,495.86    KY        15   $     311,495.86
234 HSFEHQ-05-P-4432        Exit 64 Auto Sales & Leasing, Inc. dba Tag Motors & RVs                    !6           Purvis, MS                                   $     117,800.00    NY         6   $     117,800.00
235 HSFEHQ-05-P--4433       Cooper’s RV Center Inc                                                     119          Baton Rouge, LA                              $     360,293.00    PA        19   $     360,293.00
236 HSFEHQ-05-P-4434        Fretz Enterprises                                                          115          Purvis, MS                                   $     306,555.00    PA        15   $     306,555.00
237 HSFEHQ-05-P--4435       Lee’s RV City, Inc.                                                        133          Baton Rouge, LA.                             $     729,357.00    OK        33   $     729,357.00
238 HSFEHQ-05-P-4436        Universal Marine & RV Inc                                                  i52          LONESTAR                                     $     910,8t6.60    MN        52   $     910,816.60
239 HSFEHQ-05-P--4437       Chuck & Shocktey RV’s                                                      110          Purvis, MS                                   $     206,750.00    VA        10   $     206,750.00
240 HSFEHQ-05-P-4438        Mills Motors Inc                                                           !6           Purvis, MS                                   $     116,944.00    FL         6   $     116,944.00
241 HSFEHQ-05-P-4439        Wagners RV Center Inc                                                      69           Baton Rouge, LA                              $   1,322,510.00    WI        69   $   1,322,510.00
242 HSFEHQ-05-P-4440        Mack’s Camper Sales, Inc                                                   5            LONESTAR                                     $     107,945.00    TX         5   $     107,945.00
243 HSFEHQ-05-P-4441        Allen Camper Mfg. Co., Inc                                                 4            LONESTAR                                     $      68,345.00    OK         4   $      68,345.00
244 HSFEHQ-05-P-4442        Sun Ray RV LLC                                                             9            Purvis, MS                                   $   1,451,493.00    TN         9   $   1,451,493.00
245 HSFEHQ-05-P-4443        May’s RV, Inc                                                              5            LONESTAR                                     $      99~750.00    TX         5   $      99,750.00
246 HSFEHQ-05-P-4444        J&M Mobile Homes dba RV City                                               42           Baton Rouge, LA                              $     784,082.00    AR        42   $     784,082.00
247 HSFEHQ-05-P-4445        Jasper’s RV Center                                                         6            Baton Rouge, LA                              $     100,302.00    IA         6   $     100,302.00
248 HSFEHQ-05-P-A446        Accent Homes Inc                                                           11           LONESTAR                                     $     199,763.00    SD        11   $     199,763.00
249 HSFEHQ-05-P-4447        Caper Dans RV Sales                                                        7            LONESTAR                                     $     135,298.00               7   $     135,298.00
250 HSFEHQ-05-P-4448        Double J Rv Sales                                                          4            Purvis, MS                                   $      70,310.00    IL         4   $      70,310.00
251 HSFEHQ-05-P--4449       McKinley Chevrolet & RV                                                    ;30          Baton Rouge, LA                              $     546,957.00    IA        30   $     546,957.00
252 HSFEHQ-05-P-4450        Lee County RV Sales Co North Trail RV Center                               20           Purvis, MS                                   $     479,200.00    FL        20   $     479,200.00
253 HSFEHQ-05-P-4451        Paul’s Trailer & RV Center lnc                                              200         Purvis, MS                                   $   3,120,000.00    WI       200   $   3,120,000.00
254 HSFEHQ-05-P-4452        Meadowbrook RV Sales                                                       5            Baton Rouge, LA                              $      88,738.00    OK         5   $      88,738.00
255 HSFEHQ-05-P-4474        Ketelsen Campers of Colorado                                               22           Baton Rouge, LA                              $     404,170.00    CO        22   $     404,170.00
256 HSFEHQ-05-P--4475       Shoeder’s Marine & Sport’Center, Inc                                       ;28          Baton Rouge, LA                              $     485,477.04    WI        28   $     485,477.04
257 HSFEHQ-05-P-4476        Hunter RV Center                                                           10           Baton Rouge, LA                              $     202,647.00    OK        10   $     202,647.00
258 HSFEHQ-05-P-4477        Avalon RV Center, Inc                                                      38           Purvis, MS                                   $     658,551.00    OH        38   $     658,551.00
259 HSFEHQ-05-P-4478        Burlington RV Superstore, Inc                                              31           Baton Rouge, LA                              $     563,272.00    WI        31   $     563,272.00
260 HSFEHQ-05-P-4479        Johnny Ketelson RV Inc                                                     16           Baton Rouge, LA                              $     283,877.97    IA        16   $     283,877.97
261 HSFEHQ-05-P-4480        Ansley & Lewis, Inc                                                        27           Purvis, MS                                   $     478,500.00    PA        27   $     478,500.00
262 HSFEHQ-05-P-4481        Preferred RV                                                               5            Baton Rouge, LA                              $       85,640.00   NE         5   $      85,640.00
263 HSFEHQ-05-P-4482        Youngblood’s RV Center, Inc                                                25           KATR NA                                      $     476,235.00    KY        25   $     476,236.00



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 2    Contract Number                                         Vendor                                         Units                      Deliver To:                    Amount       Acquired
264 HSFEHQ-05-P-4483        Schraaps Traveland Inc                                                      5            Baton Rouge, LA                              $       98,980.00   SD        5           $       98,980.00
265 HSFEHQ-05-P--4484       RV Service, lnc                                                             10           Purvis, MS                                   $      176,574.00   TN       10           $      176,574.00
266 HSFEHQ-05-P-4465        Walkabout RV LLC                                                            47           LONESTAR                                     $   1,001,000.00             47           $   1,001,000.00
267 HSFEHQ-05-P-4486        Mike Thompson’s RV Super Stores                                             48           Baton Rouge, LA                              $   105,800.00      CA       46           $      105,800.00
268 HSFEHQ-05-P-4487        Pleasureland RV Center                                                      71           Purvis, MS                                   $ 1,225,517.00      MN       71           $   1,225,517.00
269 HSFEHQ-05-P--4488       JCM Remodelers                                                              97           Baton Rouge, LA                              $ 2,026,223.00      IL       97           $   2,026,223.00
27O HSFEHQ-05-P-4489        Suncoast RV                                                                 44           KATRINA                                      $      735,768.00   FL                    $      735,768.00
271 HSFEHQ-05-P-4494        UPTON’s RV                                                                  2            Purvis, MS                                   $       38,400.00   MS        2           $       38,400.00
272 HSFEHQ-05-P-4495        Sherman RV Center                                                           7            Purvis, MS                                          133,570.00   MS        7           $      133,570.00
273 HSFEHQ-06-C-4372        SIMS RV                                                                     1019         908 Lake Charles / 111 Jasper, TX            $ 19,717,650.00                    1019                       $ 19,717,650.00
274 HSFEHQ-06-C-4378        BERRYLAND RV                                                                ~18          Baton Rouge, LA                              $ 14,108,080.00              718          $ 14,108,080.00
275 HSFEHQ-06-C-4379        DIXIE RV SUPER STORES                                                       539          Baton Rouge, LA                              $ 10,403,684.00              539          $ 10,403,684.00
276 HSFEHQ*06-P-4348        United Homes and RV                                                         12           Baton Rouge, LA                              $      218,080.00             12          $      218,080.00
277 HSFEHQ-O6-P--4349       Pdmeax RV                                                                   243          Baton Rouge, LA                              $    4,857,570.00            243          $ 4,857,570o00
278 HSFEHQ-06-P-4350        Bent’s RV Rendezvous, LLC                                                   383          Baton Rouge, LA                              $ 7,622,624.00               383          $ 7,622,624.00
279 HSFEHQ-06-P--4351       Disaster Housing and Recovery                                               394          Baton Rouge, LA                              $ 7,683,000.00               394          $    7,683,000.00
280 HSFEHQ-06-P--4352       Berryland Campers                                                           256          Baton Rouge, LA                              $    5,054,050.00            256          $ 5,054,050.00
281 HSFEHQ-06-P-4353        Innovative RV                                                               37           Baton Rouge, LA                              $ 582,700.00                  37          $ 582,700.00
282 HSFEHQ-06-P-4354        Hue-Mar LLC                                                                 62           Baton Rouge, LA                              $ 1,224,941.00               62           $ 1,224,941.00
283 HSFEHQ-06-P-4355        Dixie RV Superstores                                                        345          Texarkana, TX                                $ 7,091,782.00               345          $ 7,091,782.00
284 HSFEHQ-06-P-4356        Clay’s RV Center                                                            510          Texarkana, TX                                $ 9,925,500.00               510          $ 9,925,500.00
285 HSFEHQ-06-P-4357        Gauthiers RV Center                                                         35                                                        $      693,367.50             35          $      693,367.50
286 HSFEHQ-06-P.-4358       Hope’s Camper Corner                                                        81                                                        $ 1,539,000.00               81           $ 1,539,000.00
287 HSFEHQ-06-P-4359        Dixie RV Superstores                                                        81           Texarkana, TX                                $    1,499,686.65             61          $    1,499,6B6.65
288 HSFEHQ-06-P-4360        Forman RV                                                                    500         Baton Rouge, LA                              $" 9,800,000.00              5OO          $ 9,800,000.00
289 HSFEHQ-06-P-4361        Cenla Camper Center                                                         133          Baton Rouge,                                 $ 2,487,054.00               133          $ 2,487,054.00
290 HSFEHQ-06-P-4362        Dixie RV Super Stores                                                       258          Baton Rouge, LA                              $ 4,936,548.99               258          $ 4,936,548.99
291 HSFEHQ-06-P-4363        Berryland Motors, LLC                                                       222          Baton Rouge, LA                              $ 4,294,770.00               222          $ 4,294,770.00
292 HSFEHQ-06-P-4364        Family-RV Center                                                            100          Baton Rouge, LA                              $ 1,705,86b.98               100          $    1,705,860.98
293 HSFEHQ-0&.P-4365        Kent Mitchell RV Sales                                                      14           Baton Rouge, LA                              $      268,000.00             14          $    268,000.00
294 HSFEHQ-06-P-4366        Liberty Autoplex & Campers                                                  13           Baton Rouge, LA                              $ 244,400.00                  13          $      244,400.00
295 HSFEHQ-06-P-4373        BALLARD TIARA RV SALES                                                      200          Jasper, TX                                   $ 3,980,000.00                     200                        $ 3,980,000.00
296 HSFEHQ-06-P-4374        BISHOP MOBILE CENTER RV                                                     87           Lake Charles,LA                              $ 1,665,205.00                      87                        $ 1,665,205.00



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 1 Travel Trailers Off the Lot Purchased (LOCAL) - Sorted by Contract #




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 2 Contract Number                                              Vendor                                         Units                         Deliver To:                   Amount         Acquired
297 HSFEHQ-06-P-4375          LLOYDS RV                                                                      105          Lake Charles,LA                              $   1,972,502.00     TX                  lO5                       $   1,972,502.00
298 HSFEHQ-06-P-4376          SHERROD’S RV                                                                  189           Jasper, TX                                   $   1,607,139.93      TX                  89                       $   1,607,139.93
299 HSFEHQ-O6-P-4377          TAYLOR’S MOTOR HOMES                                                          137           Jasper, TX                                   $     724,773.00      TX                  37                       $   724,773.00
300 HSFEHQ-06-P-4350          SOUTHERN RV                                                                   1154          Baton Rouge, LA                              $   2,937,602.00     MS            154        $    2,937,602.00
301 HSFEHQ-06-P-4381            =RIMEAUX RV                                                                 125           Baton Rouge, LA                              $   2,498,750.00      LA           125        $    2,498,750.00
302 HSFEHQ-06-P-4382          CLAY’S RV                                                                     62            Baton Rouge, LA                              $   1,209,000.00      LA            62        $    1,209,000.00
303 HSFEHQ-06-P-4383          BENT’S RV RENDEZVOUS                                                           232          Baton Rouge, LA                              $   4,564,145.00      LA           232        $    4,564,145.00
304 HSFEHQ-06-P-4384          GAUTHIERS RV                                                                  B1            Baton Rouge, LA                              $   1,613,925.00      LA            81        $    1,613,925.00
305 HSFEHQ-06-P-4385          Hope’s Camper Corner                                                          46            Baton Rouge, LA                              $     902,900.00      LA            46        $      902,900.00
306 HSFEHQ-06-P.-4386         STEVEN’S RV                                                                    169          Baton Rouge, LA                              $   3,352,96g.00      LA           169        $    3,352,960.00
307 HSFEHQ-06-P-4387          INNOVATIVE SALES                                                              24            Baton Rouge, LA.                             $     371,150.00      LA            24        $      371,150.00
308 HSFEHQ-06-P-4388          BAYOU OUTDOOR SUPERSTORE                                                      85            Baton Rouge, LA                              $   1,646,506.00      LA            85        $    1,646,506.00
309 HSFEHQ-06-P-4389          FOREMAN RV LLC                                                                 128          Baton Rouge, LA                              $   2,534,400.00      LA           128        $    2,534,400.00
310 HSFEHQ-06-P-4390          BLANCHARD TRAILER SALES                                                       23            Baton Rouge, LA                              $     432,700°00      LA            23        $      432,700.00
311 HSFEHQ-06-P-4391          COURVELLE’S RV INC                                                            18            Baton Rouge, LA                              $     353,400.00      LA            18        $      353,400.00
312 HSFEHQ-06-P~4392          STEVEN’S MOBILE HOMES                                                          100          Baton Rouge, LA                              $   1,970,000.00      LA           100        $    1,970,000.00
313 HSFEHQ-06-P-4393          CAMPER’S RV CENTER                                                             276          Baton Rouge, LA                              $   5,471,700.00      LA           276        $    5,471,700.00
314 HSFEHQ-06-P-4394           DIXIE MOTORS, INC                                                             198          Baton Rouge, LA                              $   3,702,204.00      LA           198        $    3,702,204.00
315 HSFEHQ-06-P-4395           RV PROMOTIONS                                                                99           Baton Rouge, LA                               $   1,930~500.00      LA            99        $    1,930,500.00
316 HSFEHQ-06-P-4398           INNOVATIVE SALES                                                             30           Baton Rouge, LA                               $     479,400.00      LA            3O        $      479,400.00
3i 7 HSFEHQ-06-P-4397          HOPE’S CAMPER CORNER                                                         66           Baton Rouge, LA                               $   1,263,000.00      LA            66        $.   1,263,000.00
318 HSFEHQ-06-P-4398           CAMPERS UNLIMITED                                                             300         Baton Rouge, LA                               $   5,999,400.00      L~           300        $    5,999,400.00
319 HSFEHQ-08-P-4411           Pdmeax RV                                                                     100         Baton Rouge, LA                               $   1,983,600.00      LA           100        $    1,983,600.00
320 HSFEHQ-06-P-4412           Stevens Mobile Homes& RV Center                                              71           Baton Rouge, LA                               $   1,375,050.00 !    LA            71        $    1,375,050.00
321 HSFEHQ-06-P-4413           1-49 Trailer & RVs Inc                                                       40           Baton Rouge, LA                               $     661,150.00 i    LA            40        $      661,150.00
322 HSFEHQ-06-P-4414           RV Factory Outlet                                                             258         Baton Rouge, LA                               $   4,953,600.00      TX           258        $    4,953,600.00
323 HSFEHQ-06-P--4415          Family RV Center                                                              139 ¯       Baton Rouge, LA                               $   2,670,430.00      LA           139        $    2,670,430.00
324 HSFEHQ-06-P-4416           Corvelles RV lnc                                                              105         Baton Rouge, LA                               $   1,924,937.00                   105        $     1,924,937.00
325 HSFEHQ-06-P-4418           North Shore Service Center                                                   28           I Baton Rouge, LA                             $     496,100.00                    28        $      496,100.00
326 HSFEHQ-06-P-4419           Kent Mitchel                                                                 29            Baton Rouge, LA                              $     541,675.00                    29        $       541,675.00
327 HSFEHQ-06-P-4420           Mahoney’s Camp-R Land                                                        7             Baton Rouge, LA                              $      136,627.00                    7        $       136,627.00
328 HSFEHQ-06-P-4421           Liberty Auto Plex & Campers                                                  63            Baton Rouge, LA                              $   1,258,425.00                    63       $      1,258,425.00
329 HSFEHQ-08-P-4422           Millers RV Center                                                             247          Baton Rouge, LA                              $   4,890,885.00                   247       $     4,890,885.00
33e HSFEHQ-06-P--4423          Bent’s RV Rendezvous, LLC                                                     167          Baton Rouge, LA                              $   3,177,865.00                   167       $      3,177,865.00



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    iTravel Trailers Off the Lot Purchased (LOCAL) - Sorted by Contract #




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  2 Contract Number                                            Vendor                                       Units                         Deliver To:                   Amount        Acquired
331 HSFEHQ-06-P-4424          Liberty Auto Plex, LLC                                                     48           Baton Rouge, LA                              I$      959,060.00    LA       48                 959,080.00
332 HSFEHQ-06-P-4425          Clay’s RV                                                                  22           Baton Rouge, LA                              I$      424,500.00    LA       22          I$     424,500.00
333 HSFEHQ-06-P-4426         Berryland RV Campers                                                        250          Baton Rouge, LA                              I$    4,999,500.00    LA      25(]          $   4,999,500.00
 334 HSFEHQ-06-P-4428        Stevens Mobile Homes                                                        30           Baton Rouge, LA                                      583,699.98    LA                    $     583,699.98
 335i HSFEHQ-06-P-4429       Bent’s RV Rendezvous, LLC                                                   70           Baton Rouge, LA                                $   1,349,975.00    LA       7C           $   1,349,975.00
336 HSFEHQ-06-P-4430         Campers Unlimited                                                            104         Baton Rouge, LA                                $   2,052,290.00    LA      104           $   2,052,290.00
 337 HSFEHQ-06-P-4431        Dixie RV Superstore                                                         238          Purvis, MS                                     $   4,450,124.00    LA      238           $   4,450,124.00
 338 HSFEHQ-06-P-4432         T&J RV Sales                                                               16           Baton Rouge, LA                                $     309,000.00    LA                    $     309,000.00
 339 HSFEHQ-06-P-4433         Bayou Outdoor Superstore                                                   13           Baton Rouge, LA                                $     259,870.00    LA      13            $     259,870.00
 340 HSFEHQ-06-P--4500       ITopper’s RVs                                                               12           Jaspar, TX                                     $     239,940.00    TX             12                        $   239,940.00
 341 HSFEHQ-06-P-4501         Explore USA RV, Ltd.                                                       98           Jasper, TX                                     $   1,895,447.00    TX             98                        $ 1,895,447.00
 342 HSFEHQ-06-P-4502         Traylor Motor Homes, Inc                                                   57           Jaspar, TX                                     $   1,128,600.00    TX             57                        $ 1,128,600.00
 343 HSFEHQ-06-P-4503         Lone Star RV Sales lnc                                                     45           Jaspar, TX                                     $     893,025.00    TX             45                        $   893,025.00
 344 HSFEHQ-06-P.-4504        LIoyds 1-10 RV Center                                                       110         Jasper, TX                                     $   1,917,966.00    TX             11o!                      $ 1,917,966.00
 345 -ISFEHQ-06-P-4505        ~Jlstar RV                                                                  100         Jaspar, TX                                     $   1,999,900.00    TX             10C                       $ 1,999,900.00
 346 HSFEHQ-05-P-4506         Sims RV World                                                              97           Jasper, TX                                     $   1,923,800.00    TX                                       $ 1,923,800.00
 347 HSFEHQ-06-P-4507         Colonial Del Ray RV Sales                                                  57           Jasper, TX                                     $   1,139,943.00    TX              57!                      $ 1,139,943.00
 348 HSFEHQ-06-P-4508         RV Outlet Mall                                                             26           Jasper, TX                                     $     518,338.00    TX                                       $   518,338.00
 349 HSFEHQ-06-P-4509         South Texas RV                                                             24           Jasper, TX                                     $     474,473.40    TX              24i                      $   474,473.40
 350 HSFEHQ-06-P--4510        Bishop Mobile Center                                                        103         Jasper, TX                                     $   1,943,610.00    TX             lO3                       $ 1,943,610.00
 351 HSFEHQ-06-P-4511         United RV Center                                                           11           Jasper, TX                                     $     203,598.00    TX             11                        $ 203,598.00
 352 HSFEHQ-06-P-4512         Crestview RV Superstore                                                    79           Jasper, TX                                     $   1,350,350.00    TX             79                        $ 1,350,350.00
 353 HSFEHQ-06-P-4513         Sherrod RV Center, Inc                                                     75           Jasper, mX                                     $   1,421,658.00    "IX            75                        $ 1,421,658.00
35~- HSFEHQ-06-P-4514         Lonestar RV Sales, lnc                                                     25           Jasper, TX                                     $     493,672.00    TX             25                        $   493,672.00
355 HSFEHQL06-P-4515          Valley Travel Land, Inc                                                    15           Jasper, TX                                     $     288,840.00    TX             15                        $   288,840.00
356 HSFEHQ-06-P-4516          Explorer USA RV LTD                                                        44           Jaspe~TX                                       $     855,219.00    TX             44                        $   855,219.00
 357 HSFEHQ-06-P-4517         Crestview RV CentedBarton Springs Inc.                                     40           Jasper, TX                                     $     701,234.0O    -IX            4O                        $   701,234.00
 358 HSFEHQ-06-P-4518         DeMontrond RV                                                              69           Jasper, TX                                     $   1,134,428.00    TX             69                        $ 1,134,428.00
 359 HSFEHQ-06-P--4519        SouthWest RV Centers,LLC                                                   37           Jasper, TX                                     $     661,754.00                   37                        $   661,754.00
1360 HSFEHQ-06-P--4520        Traylor Motor Homes, Inc.                                                  50           Jasper, TX                                     $     990,000.00                   50                        $   990,000.00
 361 HSFEHQ-06-P-4521         Bishop Mobile Center                                                       54           Jasper, TX                                     $   1,053,000.00                   54                        $ 1,053,000.00
 362 HSFEHQ-06-P-4522         Holiday World of Houston                                                   41           Jasper, TX                                     $ 767,300.00                       41                        $ 767,300.00
 363                                                                                                      TOTAL                                                     I TOTAL $



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   Travel.Trailers Off the Lot Purchased (LOCAL) - Sorted by Contract #
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 2 Contract Number                                           Vendor                                        Units                        Deliver To:                   Amount       Acquired
364                                                                                       Grand Total      27,396                                                 $ 532,694,483.84
365                                                                                                                                                                                           24,590           $ 479,031;116.51
366                                                                                                                                                                                                    2,806                      $ 53,663,365.33




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Travel Trailers Off the Lot Purchased (LOCAL) - Sorted by Contract #




HSFEHQ-06-P-6001       ILiberty Autoplex                         481 ~ BATON ROUGE                        $7,198,896:12 I        LA          x          $14,966.52
                        Millers RV

                      ~e
HSFEHQ-06-P-6002                                                 492        BATON ROUGE                   $7,370,96&88                                  $14,981.64
HSFEHQ-06-P-6003                   Sales                    i 2o!           BATON ROUGE                      $3,204,94,5                                 $15,945
                                                                                                                                                         $16,500
HSFEHQ-06-P-6004                                                            BATON ROUGE                      $1,567,500
HSFEHQ-06-P-6005      H~s Camper Corner                                     BATON ROUGE                      $8,235,496 I                                $16,504
HSFEHQ-06-P-6006
HSFEHQ-06-P-6007      t Atch afalay_a _RV
                        Primeaux RV
                                                                 500 I.     BATON ROUGE
                                                                            BATON ROUGE
                                                                                                             $8,440,000
                                                                                                               $865,000
                                                                                                             $5,443,200
                                                                                                                                 LA I x
                                                                                                                                                         $16,880
                                                                                                                                                         $15,90O
                                                                                                                                                         $16,800
HSFEHQ-06-P-6008        Family RV                                325        BATON ROUGE
HSFEHQ-06-P-6009       IBayou Outdoor Supercenter                132        BATON ROUGE                      $2,249,700                                  $16,995
HSFEHQ-06-P-6010      .l_Bents R~V Rendezvous                    300        BATON ROUGE                      $5,O98,5OO                                  $16,995
HSFEHQ-06-P-6011      o~Stevens Mobile and RV                               BATON ROUGE                      $7,243,598                                  $16,45O
HSFEHQ-06-P-6012       IScotty’s Camper Sales                               BATON ROUGE                      $4,442,700                                  $17,700
HSFEHQ-06-P-6013                                                            BATON ROUGE                   $4,242,337~52 I                                $17,976
                                                              TOTAl. #                                   TOTA L $
                                               Grand Total       4,000                                   $65,602,839.52

ALL UNITSARE TO BE DELIVERED TO BATON ROUGE NO LATER THAN FEB. 28, 2006
THIS WAS COMPETED BY PRICE AND PERFORMANCE FORM MULTIPLE VENDORS IN LA




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Travel Trailers Off the Lot Purchased (LOCAL) - Sorted by Contract #




HSFEHQ-06-C-6014          IBent’s RVRendezvous LLC    i 391 I       Baton Rouge    $6,451,500.00   $16,500
                                                        TOTAL #                   TOTAL $
                                          Grand Total         39t                  $6,451,500.00

Delivery date 3/24/2006




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Travel Trailers Title Manufacturing and Production Contractors Purchased (NATIONAL) - Sorted by Contract #
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HSFEHQ-05-C-4000         Gulf Stream Coach       IN             ADA         25000                          $ 249,815,000.00
HSFEHQ-05-C-4039         Morgan                  FL             ADA         10000                          $ 257,822,500.00
HSFEHQ-05-C-4039         Morgan                   FL            Regular     5000                            In Above Amount
HSFEHQ-05-C-4040         NACS                    FL             Regular     5000                           $    60,220,000.00
HSFEHQ-05-C-4041         Gulf Stream Coach       IN             Regular     25000                          $ 246,875,000.00
HSFEHQ-05-C-4126         Tom Raper RVs           IFL            Regular     8OO                            $    18,610,895.00
HSFEHQ-05-C-4128         Bourgettes of the South LA             Regular     6000                           $    98,100,000.00

                                                                            Grand Total        76,800                       $ 931,443,395.00




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Mobile Homes National Manufacturers Purchased (NATIONAL) - Sorted by Contract #
contract Numbei~                                                               Units ~                        DeliVer To:
HSFEHQ-05-C-4336     Palm Harbour Homes                         Regular        400                                             $          15,960,000.00
HSFEHQ-05-C-4338     Dylan Homes                                Regular        274                                             $           9,582,876.00
HSFEHQ-05-C-4339     Fuqua Homes                                Regular        120                                             $           4,294,440.00
HSFEHQ-05-C-4340     Fall Creek Homes                           Regular        140                                             $           4,270,000.00
HSFEHQ-05-C-4341     Arrowhead                                  Regular        600                                             $          21,873,000.00
HSFEHQ-05-C-4345     Southern Energy Homes      AL              Regular        802                                             $          30, 917,100:00
HSFEHQ-05-C-4346     American Homestar                          Regular        125                                             $           4,737,500.00
HSFEHQ-05-C-4347     Silvercreek Homes                          Regular        120                                             $           4,559,400.00
HSFEHQ-05-D-4125     Precision Homes                            Regular        6700                                            $         287,515,000.00
HSFEHQ-05-D-4125     Precision Homes                            ADA            1300                                                                         Included in amount above Regular
HSFEHQ-05-D-4332     Champion Homes                             Regular        2OOO                                            $          80,800,000.00
HSFEHQ-05-D-4333     NACS                                       Regular        1,381                                           $          51,090,095.00
HSFEHQ-05-D-4334     Morgan Building and Spa’s                  Regular        3000                                            $         103,938,000.00
HSFEHQ-05-D-4335     CMH Homes                  TN              Regular        2000                                            $          61,590,000.00

                                                                                  Grand Total        18,962                    $         681,127,411.00
                                                                                        ADA           1,300                    $
                                                                                      Regular        17,662                    $         681,127,411.00




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cont~actNumber ;’ vendo~ ;~ ;;          ;~ ;= st&teA~:quired IType;!    ; units     ; Delivel~.To: I Am 00nt;
HSFEHQ-05-C-4089 Stewart Park Homes                             ADA        t50                       $        23,000,000.00
HSFEHQ-05-C-4089     Stewart Park Homes                                   250                        $           787,500.00 Mod# P0002
HSFEHQ-06-C-4399     Silver Creek Homes                                   450                        $        11,472,750.00
HSFEHQ-06-C-4400     Stewart Park Homes                  :: :, ADA        5OO                        $        13,477,500.00
HSFEHQ-06-C-4401     NACS                                       ADA       5OO                        $        11,912,500.00
HSFEHQ-06-C-4402     Dixie Motors, Inc.       LA                ADA       300                        $         7,498,500.00
HSFEHQ-06-C-4403     Flat Creek Lodges              :           ADA       300                        $         7,640,454.00
HSFEHQ-06-C-4404     Stevens Mobile Homes                       Regular   8O                         $         1,876,000.00
HSFEHQ-06-C-4405     Stewart Park Homes                         Regular   220                        $         5,435,100.00
HSFEHQ-06-P-4410     Stewart Park Homes                         Regular   85                         $         1,997,500.00

                                                                          Grand Total          3,435                $         85,097,804.00
                                                                                ADA            2,800                $         75,001,704.00
                                                                              Regular            550                $          8,098,600.00




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Travel Trailers Off the Lot                                                        24,590             532,694,483.84
Travel Trailers Manufactured                                                       76,800             931,443,395.00
Travel Trailers (MS GSA Buys)                                                      10,145             202,792,386.00 MA update 12/21/05 10,145; Per MA $891,000,00 may be added soon due to GSA contract error
Travel Trailers Offthe Lot                                                          4,000             $65,602,839.52
Travel Trailers Off the Lot                                                           391              $6,451,500.00
Mobile Homes Off the Lot (DHS)                                                      2,360              80,645,773,79
Mobile Homes Manufactured                                                          18,962             681,127,411.00
Park Models Manufactured                                                            3,435              85,097,804.00
Park Models (MS GSA Buys)                                                             210              "4,780,000.00 MA 01/12/06 take 100 units/$2,350,000,g0 for terminated contract
                                                                TOTAL         140,893               2,590,635,593.15




Travel Trailers Off the Lot                                                          2,806 $           53,663,365.33                                BOGE Units                      $     5,415,000.00
Park Models Mnanufacturad                                                                0 $                                                        DUR-Kits                        $   13,005,000.00
                                                                TOTAL          2,806       $           53,663,365.33                                KOJEM Units                     $   34,000,000.00
                                                                                                                                                                     TOTAL   1755   $    52,420,000.00

                                           Combined
                                                                         :. Quantity: :-,
                                                                      :-: "; (Units)
Travel Trailers Off the Lot                                                       27,396 $          586,357,849.17
Travel Trailers Manufactured                                                      76,800 $            931,443,395.00
Travel Trailers (MS GSA Buys)                                                     10,145 $          202,792,386.00
Travel Trailers Offthe Lot                                                          4,000             $65,602,839,52
Travel Trailers Off the Lot                                                           391              $6,451,500,00
Mobile Homes Offthe Lot                                                             2,360 $            80,645,773.79
Mobile Homes Manufactured                                                         16,962 $            681,127,411.00
Park Models Manufactured                                                            3,435 $            85,097,804.00
Park Models (MS GSA Buys)                                                             210 $             4,780,000.00
                                                                TOTAL       143,699       $         2,644,298,958.48

UFAS Travel Trailers (Local LA Dealer through Manufacturer)                            1300           $17,974,944.00
ADA Accessible 2 Bdrm Park Model Trailers (Manufacturer)                                500            $8,428,190.00
UFAS 1 Bdrm Park Models (Manufacturer)                                                  200            $3,398,996.00
UFAS 2 Bbrm Parl Mode s                                                                 100 $           1,798,0Q0.00
                                                                  Total                2100           $31,600,130~00




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